                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

SAM HADAWAY,

                              Plaintiff,

v.                                                                   Case No. 19-CV-01106

CITY OF MILWAUKEE,
CARL BUSCHMANN, JAMES DEVALKENAERE,
ROBERT SIMON, and OTHER AS-OF-YET
UNKNOWN EMPLOYEES OF THE
CITY OF MILWAUKEE,

                         Defendants.
______________________________________________________________________________

                   DEFENDANTS’ CIVIL L. R. 7(H) EXPEDITED
               NON-DISPOSITIVE MOTION TO STAY PROCEEDINGS


       NOW COME Defendants, by their attorneys, Tearman Spencer, City Attorney,

represented by Robin A. Pederson, Deputy City Attorney, and move this Court:

       (1) for a stay of all proceedings, hearings, and deadlines in this matter, including

discovery deadlines, until August 2021; and

        (2) to please schedule a status conference with the attorneys and the Court in August

2021 in order to then discuss status and the imposition of new deadlines.

       This motion is based upon a high, and unprecedented, number of attorney departures

from the City of Milwaukee City Attorney’s Office in a short amount of time. Since the

beginning of 2021, there have been 12 attorney departures, seven of them occurring in the last

four weeks. Due to these attorney departures, the City Attorney’s Office is significantly

understaffed. The hardest hit section has been the litigation section of the office, which as of the

date hereof has only five of nine attorney positions active and filled, with another vacancy




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occurring in early June, meaning that in a matter of weeks, there will only be four of nine of the

litigation section attorney positions staffed. This has caused the office to face a critical shortage

of personnel, making it difficult, if not impossible, for the remaining attorney staff to cover all of

the pending, and incoming, matters to a sufficient level of due diligence in meeting their

professional and ethical obligations in representing their clients. The office is moving forward to

hire personnel to fill the vacancies, and is anticipating hiring at least seven attorneys to begin in

July.

        Defendants respectfully submit this motion to this Court for its due consideration based

upon the foregoing described and extraordinary circumstances.

        Dated at Milwaukee, Wisconsin this 21st day of May, 2021.

                                                      TEARMAN SPENCER
                                                      City Attorney

                                                      s/ Robin A. Pederson
                                                      ROBIN A. PEDERSON
                                                      Deputy City Attorney
                                                      State Bar No. 1045759
                                                      Attorneys for Defendants
                                                      Milwaukee City Attorney’s Office
                                                      200 East Wells Street, Room 800
                                                      Milwaukee, WI 53202
                                                      Telephone: (414) 286-2601
                                                      Fax: (414) 286-8550
                                                      Email: rpederson@milwaukee.gov



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